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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

UNITED STATES OF AMERICA                                              :

          -v.-                                                        :    18 Cr. 602 (WHP)

MICHAEL COHEN,                                                        :

                              Defendant.                              :

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X




   THE GOVERNMENT’S OPPOSITION TO NON-PARTY THE NEW YORK TIMES’S
        MOTION TO UNSEAL CERTAIN SEARCH WARRANT MATERIALS




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                                PRELIMINARY STATEMENT

       On October 11, 2018, non-party The New York Times (the “Times”) filed a request to

unseal certain materials (the “Materials”) relating to searches conducted in connection with the

above-referenced case. As phrased, the Times’s request seeks the unsealing of affidavits,

warrants, and riders associated with several different searches that were conducted in connection

with a grand jury investigation into Michael Cohen and others, which remains ongoing. As set

forth in detail below, unsealing of the Materials at the present time would interfere with this

investigation, and would implicate significant privacy concerns for numerous uncharged third

parties who are named in the Materials. For these reasons, and as set forth more fully in the

Government’s supplemental submission, which is being filed under seal and ex parte (“Sealed

Br.”), the Times’s motion should be denied.1

I.     FACTUAL BACKGROUND

       a.      The April 9th Searches and Cohen’s Guilty Plea

       On April 9, 2018, the Federal Bureau of Investigation (“FBI”) executed judicially-

authorized search warrants for the residence, hotel room, office, safety deposit box, and two cell

phones of Cohen. These searches were the first investigative step taken publicly in what was by

then a months-long investigation that related both to Cohen’s personal business dealings and

Cohen’s participation in suspected campaign finance violations.




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  The supplemental submission identifies specific portions of the warrant affidavits and other
facts pertinent to the ongoing government investigation, as well as to the privacy interests of
uncharged parties, that are discussed more generally herein. Public filing of the matters
discussed in the supplemental submission would undercut the very investigative and privacy
interests the Government seeks to protect by its opposition to the Times’s motion. See United
States v. Amodeo, 71 F.3d 1044, 1050 (2d Cir. 1995).

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       On April 12, 2018, Cohen filed a motion in Part I to enjoin the Government from

reviewing the evidence seized during the April 9th searches and to require that the materials first

be subjected to a privilege review by counsel for Cohen, an attorney, and counsel for his clients.

The application was heard by the Honorable Kimba M. Wood, who ultimately appointed a

special master to conduct a privilege review of the evidence seized during the searches. The

non-privileged evidence was periodically released by the special master to the Government in the

following weeks and months, and the special master completed her review on or about August

16, 2018.

       After the April 9th searches, the Government continued its grand jury investigation. On

August 21, 2018, Cohen consented to the filing of an eight-count criminal information, and

pleaded guilty to (1) five counts of tax evasion, relating to his failure to report income in tax

years 2012-2016; (2) one count of making a false statement to a financial institution, relating to

false statements Cohen had made on a loan application; and (3) two campaign finance counts,

relating to Cohen’s involvement in payments made to two women who claimed to have had

extramarital affairs with a candidate for federal office, in order to ensure that the women did not

publicize their stories before the 2016 presidential election and thereby influence the election.

Cohen’s sentencing is scheduled for December 12, 2018.

       As set forth in the Government’s supplemental submission, the Government’s grand jury

investigation is ongoing. See Sealed Br. 1-5.

       b.      The Requested Materials

       The Times’s request seeks “copies of the search warrants, search warrant applications,

supporting affidavits, court orders, and returns on executed warrants related to searches done on

Michael Cohen’s residence, hotel room, office, cell phones, and safe deposit boxes on April 9,




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2018, as well as similar applications and supporting documents pertaining to searches of Mr.

Cohen’s electronic communications pursuant to 18 U.S.C. § 2703.” (Times Br. 1). This request

encompasses materials that, if disclosed, would reveal a substantial amount of non-public,

sensitive detail about an ongoing grand jury investigation, as well as information about numerous

uncharged third parties. See Sealed Br. 1-5.

II.    APPLICABLE LAW

       a.      The Common Law Right of Access

       The Supreme Court has recognized a common law right of public access to judicial

documents. Nixon v. Warner Communications, Inc., 435 U.S. 589, 597-98 (1978). The Second

Circuit has held that this right attaches to Rule 41 search warrant applications and orders in the

case of a closed criminal investigation. Gardner v. Newsday, Inc. (In re Newsday, Inc.), 895 F.2d

74, 79 (2d Cir.), cert. denied, 496 U.S. 931 (1990). In so holding, the Second Circuit noted that

the defendant had pleaded guilty in that case and that the government conceded that the “need for

secrecy is over.” Id. The Second Circuit thus distinguished its holding factually from a case in

which the Ninth Circuit had found no common law right of access in the context of an ongoing

investigation. Id. at 78-79 (distinguishing Times Mirror Co. v. United States, 873 F.2d 1210 (9th

Cir. 1989)).

       The common law right of access attaches with different weight depending on two factors:

(a) “the role of the material at issue in the exercise of Article III judicial power” and (b) “the

resultant value of such information to those monitoring the federal courts.” United States v.

Amodeo (“Amodeo II”), 71 F.3d 1044, 1049 (2d Cir. 1995). “Generally, the information will fall

somewhere on a continuum from matters that directly affect an adjudication to matters that come

within a court’s purview solely to insure their irrelevance.” Id. Courts in this Circuit have




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concluded that search warrants and associated documents go to the heart of the judicial function,

and that the common law presumption of access to search warrants and related materials is thus

entitled to significant weight. See In re Search Warrant, 16 Misc. 464 (PKC), 2016 WL

7339113, at *3 (S.D.N.Y. Dec. 19, 2016); United States v. All Funds on Deposit at Wells Fargo

Bank in Account No. 7986104185 (All Funds), 643 F. Supp. 2d 577, 584 (S.D.N.Y. 2009).

       After determining the weight afforded to the presumptive right of access, the common

law right is balanced against countervailing interests favoring secrecy. “[T]he fact that a

document is a judicial record does not mean that access to it cannot be restricted.” United States

v. Amodeo (Amodeo I), 44 F.3d 141, 146 (2d Cir. 1995). Noting that it is difficult to “identify all

the factors to be weighed in determining whether access is appropriate,” the Supreme Court has

further observed that “the decision as to access is one best left to the sound discretion of the trial

court, a discretion to be exercised in light of the relevant facts and circumstances of the particular

case.” Nixon, 435 U.S. at 598-99.

       The Second Circuit has recognized certain categories of countervailing factors to be

balanced against the presumption of access, including: (i) the danger of impairing law

enforcement or judicial efficiency and (ii) the need to protect privacy interests. Amodeo I, 44

F.3d at 147. The Circuit has identified the law enforcement privilege as an interest worthy of

protection, noting that the privilege is designed:

       to prevent disclosure of law enforcement techniques and procedures, to preserve
       the confidentiality of sources, to protect witness and law enforcement personnel,
       to safeguard the privacy of individuals involved in an investigation, and otherwise
       to prevent interference with an investigation.

Id. (citing In re Dep’t of Investigation, 856 F.2d 481 (2d Cir. 1988)). In addition, the court in

Amodeo II found that the voluntary cooperation of persons who may want or need confidentiality

“is also often essential to judicial efficiency.” 71 F.3d at 1050. Thus, “[i]f release [of a judicial



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document] is likely to cause persons in the particular or future cases to resist involvement where

cooperation is desirable, that effect should be weighed against the presumption of access.” Id.

       The Second Circuit has also held that “[t]he privacy interests of innocent third parties as

well as those of defendants that may be harmed by disclosure. . . should weigh heavily in a

court’s balancing equation.” In re New York Times Co., 828 F.2d 110, 116 (2d Cir. 1987); see

also In re Newsday, Inc., 895 F.2d at 79-80 (holding that the “common law right of access is

qualified by recognition of the privacy rights of the persons whose intimate relations may

thereby be disclosed”). The Circuit has identified such interests as “a venerable common law

exception to the presumption of access.” Amodeo II, 71 F.3d at 1051. “In determining the

weight to be accorded an assertion of a right of privacy, courts should first consider the degree to

which the subject matter is traditionally considered private rather than public.” Id. (listing

“[f]inancial records of a wholly owned business, family affairs, illnesses, embarrassing conduct

with no public ramifications, and similar matters” as weighing more heavily against access than

conduct affecting a substantial portion of the public); see also In re Newsday, Inc., 895 F.2d at

79 (holding that disclosure of “intimate relations” qualifies the common law right of access).

“The nature and degree of injury must also be weighed.” Amodeo II, 71 F.3d at 1051. Finally, in

balancing the qualified right of public access against privacy interests, courts must consider “the

sensitivity of the information and the subject,” and whether “there is a fair opportunity for the

subject to respond to any accusations contained therein.” Id.

       b.      The First Amendment Right of Access

       The First Amendment presumptive right of access applies to civil and criminal

proceedings and “protects the public against the government’s arbitrary interference with access

to important information.” N.Y. Civil Liberties Union v. N.Y.C. Transit Auth. (“NYCTA”), 684




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F.3d 286, 298 (2d Cir. 2012) (internal quotation marks omitted). The Second Circuit has not

directly reached the question of whether a First Amendment right of access exists for search

warrants and supporting materials. In re Newsday, Inc., 895 F.2d at 79-80 (To determine

whether there is a right of access to, courts “first look to the common law, for [they] need not,

and should not, reach the First Amendment issue if judgment can be rendered on some other

bases.”).

       The Circuit has applied two different approaches when deciding whether the First

Amendment right applies to particular material. The “experience-and-logic” approach asks

“both whether the documents have historically been open to the press and general public and

whether public access plays a significant positive role in the functioning of the particular process

in question.” Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 120 (2d Cir. 2006) (internal

quotation marks omitted). The second approach—employed when analyzing judicial documents

related to judicial proceedings covered by the First Amendment right—asks whether the

documents at issue “are derived from or are a necessary corollary of the capacity to attend the

relevant proceedings.” Id. (internal quotation marks and alteration omitted).

       Even when it applies, however, the First Amendment right creates only a presumptive

right of access. “What offends the First Amendment is the attempt to [exclude the public]

without sufficient justification,” NYCTA, 684 F.3d at 296, not the simple act of exclusion itself.

Thus, the presumptive right of access may be overcome by “specific, on-the-record findings that

sealing is necessary to preserve higher values and only if the sealing order is narrowly tailored to

achieve that aim.” Lugosch, 435 F.3d at 124.

       c.       Redactions to Documents Subject to Right of Access

       Finally, in any case in which some sealing of a judicial document is appropriate, the




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Second Circuit has directed that the court must determine whether redaction is “a viable

remedy,” or whether the document presents “an all or nothing matter.” Amodeo II, 71 F.3d at

1053; see also In re Newsday, Inc., 895 F.2d at 80 (noting that “a district court has the authority

to redact a document to the point of rendering it meaningless, or not to release it at all, but such

drastic restrictions on the common law right of access are not always appropriate.”). Where

redactions are necessary to protect the interests described above, the Second Circuit has

considered whether the portions of the document that remain intact are intelligible and

informative, or are more likely to be confusing and misleading. Amodeo II, 71 F.3d at 1053.

Where partial redaction is not a viable option, the Circuit has indicated that the entire document

may remain under seal. Id.

III.   DISCUSSION

       a. Any Common Law Right of Access is Outweighed by Countervailing Factors
       Recognized By the Second Circuit

       As noted, the Second Circuit has recognized a common law right of access to Rule 41

search warrants and applications, in the context of a closed investigation where the Government

acknowledged that “its need for secrecy is over.” In re Newsday, Inc., 895 F.2d at 79. Here, as

set forth in more detail in the Government’s sealed submission, the investigation is ongoing, a

factual situation expressly distinguished by the Second Circuit. Id. at 78 (distinguishing its

holding from a Ninth Circuit opinion on the right of access to search warrant in the context of an

ongoing investigation). 2 For this reason, the Court may deny the Times’s motion as premature.

       But even assuming, arguendo, that the common law right of access does extend to this

context, and indeed that it is “particularly weighty,” as the Times contends, the right is a



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 In addition, the Second Circuit’s holding in In re Newsday, Inc. related to Rule 41 search
warrant materials, whereas the Times’s request encompasses both Rule 41 search warrant


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qualified one, which in this case is overcome by countervailing factors – the need to protect an

ongoing law enforcement investigation and judicial efficiency, and the need to protect privacy

interests.

               1. Law Enforcement Interests

        It is well-settled that the need to prevent interference with a law enforcement

investigation may outweigh any right of access. See All Funds, 643 F. Supp. 2d at 585

(collecting cases). Courts have recognized numerous different ways in which the disclosure of

sealed materials could interfere with an investigation. Search warrant materials often reveal “the

identities of persons of interest in criminal investigations.” In re Search Warrant, 2016 WL

7339113, at *4; In Application of the United States for an Order Pursuant to 18 U.S.C. §

2703(d), 707 F.3d 283, 294 (4th Cir. 2013) (citing fact that “documents at issue set forth

sensitive nonpublic facts, including the identity of targets and witnesses in an ongoing criminal

investigation”). The disclosure of sealed materials could also jeopardize the cooperation of

persons in either the particular investigation or in future cases. Amodeo II, 71 F.3d at 1050. And

even when some aspect of a criminal investigation is public, disclosure of a detailed affidavit

could “disclose to the subjects the full range of potential criminal violations being investigated,

the evidence obtained by the United States prior to the searches, and the information which the

subjects and other individuals had provided to the United States or had failed or declined to

provide.” In re Sealed Search Warrants Issued June 4 and 5, 2008, 08-M-208 (DRH), 2008 WL

5667021, at *4 (N.D.N.Y. July 14, 2008); see also In re Search Warrant for Secretarial Area

Outside Office of Gunn (Gunn), 855 F.2d 569, 574 (8th Cir. 1988) (public access outweighed by



materials and Stored Communications Act (“SCA”) search warrant materials. However, even
assuming, arguendo, that the common law right of access applies to both Rule 41 and SCA
warrants, that right is outweighed for the reasons set forth herein.


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fact that disclosure would reveal the “nature, scope and direction of the government’s

investigation”).

       Here, as set forth in detail in the Government’s supplemental submission, disclosure of

the Materials could cause several of these forms of prejudice. See Sealed Br. 5-8. Thus, it is

simply not correct, as the Times asserts, that “any risk of impairing law enforcement interests is

minimal.” (Times Br. 4). To the contrary, at present, there is a significant interest in

maintaining the Materials under seal, because disclosure could prejudice an ongoing

investigation in concrete, identifiable ways.

               2. Privacy Interests

       In addition to the law enforcement interests cited above, the privacy rights of third parties

provide another compelling justification for sealing, one which outweighs any common law right

of access that may attach. It is well established that the need to protect privacy interests may

outweigh the right of access. See generally Giuffre v. Maxwell, 15 Civ. 7433 (RWS), 2018 WL

4062649, at *5-*8 (S.D.N.Y. Aug. 27, 2018). The Second Circuit has held that “the privacy

interests of innocent third parties should weigh heavily in a court’s balancing equation.”

Amodeo II, 71 F.3d at 1050 (quoting In re Newsday, Inc., 895 F.2d at 79-80). And in the specific

context of third parties named in search warrant applications, that interest is especially weighty,

because “a person whose conduct is the subject of a criminal investigation but is not charged

with a crime should not have his or her reputation sullied by the mere circumstance of an

investigation.” In re Search Warrant, 2016 WL 7339113, at *4. Moreover, unlike charged

defendants, uncharged third parties whose involvement in or association with criminal activity is

alleged in search warrant materials may find themselves harmed by the disclosure but without




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recourse to respond to the allegation. See In re Newsday, Inc., 895 F.2d at 80; Amodeo II, 71

F.3d at 1051.3

       Here, as set forth in the Government’s supplemental submission, many uncharged

individuals and entities are named in the Materials. Although the Times contends that the Court

may consider whether the information in question has already been publicized by other means

(Times Br. 4), the detailed evidence set forth in the Materials goes well beyond what has

otherwise been made public. See Sealed Br. 1-5, 8-10. For these reasons, the privacy interests of

third parties provides an additional basis to maintain the Materials under seal.

       b. The First Amendment Right of Access Does Not Apply and Is Outweighed by the
       Same Countervailing Factors

       The Times argues that this Court should recognize a First Amendment right of access to

search warrant materials as an alternative basis for unsealing the Materials. The Second Circuit

has not yet recognized such a right, however – in an ongoing investigation or otherwise – and the

weight of authority is against the Times’s position. Two circuit courts have held that no First

Amendment right of access attaches to search warrant materials. See Times Mirror Co. v. United

States, 873 F.2d 1210, 1216 (9th Cir. 1989) (so holding in context of an ongoing investigation);

Baltimore Sun Co. v. Goetz, 886 F.2d 60, 64-65 (4th Cir. 1989) (same). But see In re Search

Warrant for Secretarial Area Outside Office of Gunn, 855 F.2d 569, 572-74 (8th Cir. 1988)

(recognizing right of access). And it appears that every district court in this Circuit to have

considered the issue has similarly found no First Amendment right of access. See United States




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  The Government has not notified the uncharged third parties that they were named in the
Materials, in part because disclosure of that fact to certain of the uncharged third parties would
itself impair the ongoing investigation. The Court may nevertheless recognize the privacy rights
of these third parties. See In re Search Warrant, 2016 WL 7339113, at *4 (court sua sponte
ordered redactions to protect privacy rights of third party named in search warrant materials).


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v. Pirk, 282 F. Supp. 3d 585, 597-600 (W.D.N.Y. 2017) (collecting cases); see also In re Search

Warrant, 2016 WL 7339113, at *3 (Castel, J.); All Funds, 643 F. Supp. 2d at 581-83 (Swain, J.);

United States v. Paloscio, 09 Cr. 1199 (LMM), 2002 WL 1585835, at *3 (S.D.N.Y. July 17,

2002); In re San Francisco Chronicle, 07-00256-MISC (TCP), 2007 WL 2782753, at *2-*3

(E.D.N.Y. Sept. 24, 2007).

       As Judge Swain has explained in applying the governing “experience and logic test,” no

First Amendment right of access attaches to search warrant materials because “[w]arrant

application proceedings are highly secret in nature and have historically been closed to the press

and public.” All Funds, 643 F. Supp. 2d at 583. And based on similar reasoning in an analogous

context, the Second Circuit found no First Amendment right of access to wiretap materials. See

In re the Application of the New York Times Co. to Unseal Wiretap & Search Warrant Materials

(In re Wiretap), 577 F.3d 401, 410 (2d Cir. 2009). Thus, the Court should find that no First

Amendment right of access attaches here.

       In any event, even assuming such a right did attach, it is undisputedly a qualified right,

which may be outweighed by countervailing factors. To be sure, the First Amendment right of

access “gives rise to a higher burden on the party seeking to prevent disclosure than does the

common law presumption,” such that the Court must make “specific, on-the-record findings that

higher values necessitate narrowly tailored sealing.” Lugosch, 435 F.3d at 126. But the law

enforcement and privacy concerns described above are undoubtedly higher values that may

outweigh any First Amendment right of access, and the balancing analysis is the same under

either framework. See All Funds, 643 F. Supp. 2d at 586 n.8 (collecting cases). Thus, for the

reasons stated in Part III(a), supra, as well as in the Government’s supplemental submission,

there is an ample basis for the Court to make on-the-record findings that any First Amendment




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right of access that may attach is outweighed by (a) the risk of interference with an ongoing law

enforcement investigation and (b) the privacy rights of uncharged third parties.

       c. Redactions Are Not a Viable Remedy At This Time

       The Times argues that, in the alternative, the Materials should be released with any

sensitive law enforcement information or information implicating privacy interests redacted.

(Times Br. 4). Releasing the Materials in redacted form is not a viable remedy at the present

time, for at least two reasons.

       First, such disclosure would require a line-by-line review of the Materials – which are

substantial – to identify which information must be redacted to protect the integrity of the

ongoing investigation; which information constitutes protected grand jury material; and which

information must be redacted to protect privacy interests of uncharged individuals. While this

cumbersome exercise might be appropriate at the conclusion of the investigation, to require it in

this context would set a precedent that is contrary to the public interest, by requiring the

Government to engage in such a time-consuming exercise in the midst of ongoing investigations.

Moreover, as the investigation develops, certain information might become public by other

means, or the disclosure of certain specific information might no longer be an impediment to the

investigation, requiring the constant revisiting of decisions about what to redact. If such

piecemeal unsealing were permitted, it could give rise to repeated or periodic motions to unseal

in investigations of media interest, placing a burden on both the Government to constantly

rejustify sealing and the Court to constantly review unsealing applications. From the standpoint

of protecting judicial efficiency and law enforcement interests, it makes far more sense to permit

the Government to conclude its ongoing investigation before proposing redactions. See Amodeo

II, 71 F.3d at 1050 (relying on both law enforcement interests and judicial efficiency).




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       Second, the release of a partially redacted version of the Materials could be more

damaging to uncharged third parties than wholesale release, because the redactions would lead to

rampant speculation. The Second Circuit addressed this concern in Amodeo II, which concerned

a request to unseal an investigative report filed with the court by a court officer appointed

pursuant to a consent decree. 71 F.3d at 1047. Part of the report consisted of accusatory

information about an uncharged individual, who had since been appointed to a prominent

position in the Clinton administration. The Second Circuit initially authorized certain redactions

in the report to protect an ongoing investigation and the privacy interests of certain parties. Id. It

then held, however, that the report should not be released in its partially redacted form, because

the redacted version “would provide little meaningful information to the public.” Id. at 1048.

Moreover, because the names of the sources of information had to be redacted, the Court

reasoned, the redacted report was “more likely to mislead than to inform the public,” because

“[i]t would circulate accusations that cannot be tested by the interested public because the

sources and much of the subject matter are shrouded by the redactions.” Id. at 1052. This would

leave the uncharged third parties “in the unfair position of choosing between suffering the

accusations in silence or revealing redacted information.” Id.

       The same concerns apply here. The Materials include detailed information about the

conduct of third parties. As the Court is surely aware, this case has been the subject of an

unusual amount of public attention and speculation about the nature and scope of the

Government’s investigation. If the Materials were unsealed in redacted form, such redactions

would likely need to be extensive to protect the ongoing investigation and the privacy interests of

the numerous uncharged third parties. As a result, the disclosures “would provide little

meaningful information to the public.” Id. at 1048. What is more, the disclosure would almost




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certainly result in a very public guessing game in which the media and members of the public

attempted to guess the identities of the uncharged parties described in the Materials – particulary

the campaign finance portions. This would leave those individuals in the unfair position of

defending against speculation that they were or currently are under investigation. Id. at 1052.

         For these reasons, release of partially redacted versions of the Materials is not a viable

remedy at this time.

                                       CONCLUSION

         At present, disclosure of the Materials would jeopardize an ongoing law enforcement

investigation in concrete ways. In addition, disclosure would infringe on the privacy interests of

numerous third parties. For these reasons, and those set forth in the Government’s supplemental

submission, the Government respectfully requests that the Court deny the Times’s motion.

Dated:    October 25, 2018
          New York, New York

                                                Respectfully submitted,

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                                                by 28 U.S.C. § 515


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